
4 So.3d 777 (2009)
LEON COUNTY BOARD OF COUNTY COMMISSIONERS, Appellant,
v.
Gholam Reza KARIMIPOUR and Ashrae K. Moghaddam, Appellees.
No. 1D08-2911.
District Court of Appeal of Florida, First District.
March 13, 2009.
Herb W.A. Thiele, County Attorney, and Laura Youmans, Assistant County Attorney, Tallahassee, for Appellant.
Marion D. Lamb, III, Tallahassee; Ken W. Davis, Tallahassee; and Richard W. Ervin, III, of Fox &amp; Loquasto, Tallahassee, for Appellees.
PER CURIAM.
Leon County Board of County Commissioners has failed to establish any basis for reversal. We reject Leon County's claim that the trial court's decision runs counter to J-II Investments, Inc. v. Leon County, 908 So.2d 1140 (Fla. 1st DCA 2005). There is nothing in the record establishing when Leon County adopted the provisions that it sought to enforce against appellees in 2007.
AFFIRMED.
DAVIS and PADOVANO, JJ., Concur.
BENTON, J., Dissents With Opinion.
BENTON, J., dissenting.
I respectfully dissent.
